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 6                      IN THE UNITED STATES DISTRICT COURT
 7                               FOR THE DISTRICT OF ARIZONA
 8
 9   Shawn Jensen,                                     No. CV-12-00601-PHX-ROS
10                  Plaintiff,                         ORDER
11   v.
12   Ryan Thornell,
13                  Defendant.
14
15          Numerous miscellaneous matters require resolution.
16          The Court previously solicited the parties’ input on the appropriate uses to benefit
17   the class for the contempt sanctions being held in the Court’s registry. (Doc. 4494). The
18   parties have agreed on an initial disbursement and use of some of the contempt funds on
19   deposit. The Court will direct disbursement of $420,000 for the purchase of sunscreen and
20   dispensers.
21          Defendants’ request for leave to file excess pages (Doc. 4565) for their reply to the
22   monitors’ interim report will be granted.
23          Plaintiff Disability Rights Arizona, formerly Arizona Center for Disability Law,
24   requests the Court update the caption to reflect its name change. (Doc. 4569). That request
25   will be granted.
26          The parties seek extensions of time to file their responses to NaphCare’s pending
27   motion to intervene and to provide proposed language regarding salary raises. (Doc. 4578).
28   The proposed dates will be adopted.
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 1          A group of prisoners at a privately run facility filed a letter complaining about
 2   aspects of medical care. (Doc. 4579). The letter was filed on the docket meaning all
 3   counsel have received copies of the letter. All requests for relief must come through class
 4   counsel and the Court will take no action on the letter.
 5          The Court received via email a letter on behalf of another prisoner. Because that
 6   letter contains medical information, it will be filed under seal, with copies sent to counsel.
 7   The Court will also direct the Clerk of Court to file the letter under seal as a complaint in
 8   a new randomly assigned action.
 9          Class member Steve Boggs filed a motion seeking to enforce provisions of the
10   Permanent Injunction. (Doc. 4580). Class members cannot seek individualized relief in
11   this action; requests for relief must come from class counsel. Boggs must file his own
12   action if he wishes to obtain such relief.
13          Accordingly,
14          IT IS ORDERED the Clerk of Court shall disburse to the Arizona Department of
15   Corrections, Rehabilitation and Reentry $420,000 from the amounts currently on deposit
16   in a manner agreed upon between the Clerk of Court and the Arizona Department of
17   Corrections, Rehabilitation, and Reentry.
18          IT IS FURTHER ORDERED the Motion for Leave to File Excess Pages (Doc.
19   4565) is GRANTED.
20          IT IS FURTHER ORDERED the Clerk of Court shall update the caption for this
21   case to reflect Plaintiff Arizona Center for Disability Law is now known as Disability
22   Rights Arizona.
23          IT IS FURTHER ORDERED the Motion for Extensions of Time (Doc. 4578) is
24   GRANTED. The deadline to file responses to NaphCare’s Motion to Intervene is now
25   April 8, 2024, and the deadline to provide proposed language for an Order regarding salary
26   increases is now April 1, 2024.
27          IT IS FURTHER ORDERED the Clerk of Court shall file under seal the
28   communication received from a prisoner in this case. The Clerk of Court shall also file


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 1   that communication under seal as a complaint in a separate civil action. This Order shall
 2   not be sealed.
 3          IT IS FURTHER ORDERED the Motion to Enforce Court Order (Doc. 4580) is
 4   DENIED. The Clerk of Court must also mail Mr. Boggs a court-approved form for filing
 5   a civil rights complaint by a prisoner and an Application to Proceed In Forma Pauperis
 6   (Prisoner).
 7          IT IS FURTHER ORDERED the Motion/Letter re: Improved Amenities (Doc.
 8   4554) is DENIED.
 9          Dated this 26th day of March, 2024.
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12                                                   Honorable Roslyn O. Silver
13                                                   Senior United States District Judge

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